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March 12, 2019

VIA ECF

Honorable J. Paul Oetken
Thurgood Marshall
United States Courthouse
40 Foley Square

NeW York, NY 10007

Re: Silvercreek Management, Inc., et al. v. Citigroup, Inc., et al.,
Case No. 02-CV-08881-JPO

Dear Judge Oetken:

We represent Plaintiffs in the above captioned matter. In light of our continued
settlement negotiations With counsel for both remaining Defendants, Messrs. Causey and
Skilling, We request a short extension of the summary judgment motion filing schedule in Your
Honor’s Order of February 26, 2019 (docket # 245). Specifically, We respectfully request that
the summary judgment schedule be modified as follows:

6 The time for Plaintiffs to file a summary judgment motion be extended from
March 15, 2019 to March 29, 2019. This Will correspond to the existing
March 29, 2019 date for Plaintiffs to provide Defendants Causey and Skilling
With complete copies of Plaintiffs’ summary judgment evidence and discovery
responses, for Which no extension is sought.

» The time for Defendants Causey and Skilling to file their respective oppositions to
Plaintiffs’ summary judgment motion be extended from June 10, 2019 to June 17,
20 1 9.

0 The time for Plaintiffs to their reply brief in support of their summary judgment
motion remains July 12, 2019.

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Honorable J. Paul Oetken March 12, 2019
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Under this requested extension the July 12, 2019 closing date for the briefing of
Plaintiffs’ summary judgment motion does not change. Separately, Plaintiffs have filed a
Fed.R.Civ.P. 41(a)(1)(A)(ii) stipulation voluntarily dismissing Counts Four, Five and Ten of the
Third Amended Complaint (docket #246).

Counsel for Plaintiffs has consulted With the respective counsel for Defendants Causey
and Skilling, and Defendants have no objection to this letter motion.

Respectfully?L submitted,

Eugene J rett

cc: Counsel of Record (via ECF)

